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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA


 OSCAR GUILLEN,                               )
                                              )
                       Petitioner,            )
 v.                                           )       No. 2:05-cv-248-RLY-WGH
                                              )
 CRAIG HANKS, Superintendent,                 )
                                              )
                       Respondent.            )




                   Entry Discussing Petition for Writ of Habeas Corpus

       For the reasons explained in this Entry, this action must be dismissed for lack of
 subject matter jurisdiction.

                                           Background

        The following is established by the pleadings and by the expanded record:

         1.    Petitioner Guillen challenges his conviction in an Indiana state court docketed
 as No. 45D08-9210-CM-12829 (hereafter “the state conviction”). In that case, he was found
 guilty in 1995 of operating a vehicle while intoxicated. On May 31, 1995, Guillen was
 sentenced to one year imprisonment, to run concurrently with sentences in another case.
 No appeal from this disposition was filed.

        2.      Guillen is presently in custody pursuant to a conviction other than the state
 conviction.

         3.     Guillen was discharged from the sentence imposed for the state conviction
 not later than May 31, 1996. The present action was filed with the clerk on October 7, 2005,
 based on a habeas petition signed by Guillen on September 28, 2005.


                                           Discussion

        When a petitioner's sentence for a conviction has fully expired, the conviction may
 not be directly challenged because the petitioner is no longer "in custody" pursuant to that
 conviction. Lackawanna County Dist. Attorney v. Coss, 532 U.S. 394, 403 (2001)
 (explaining that if a prior conviction "is no longer open to direct or collateral attack in its own
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 right because the defendant failed to pursue those remedies while they were available (or
 because the defendant did so unsuccessfully), the conviction may be regarded as
 conclusively valid"). Thus, Guillen does not satisfy the “in custody” requirement of the
 federal habeas statute with respect to the state conviction. Maleng v. Cook, 490 U.S. 488,
 492 (1989) (per curiam)("[O]nce the sentence imposed for a conviction has completely
 expired, the collateral consequences of that conviction are not themselves sufficient to
 render an individual 'in custody' for purposes of a habeas attack upon it."). Guillen has
 disclaimed any contention or suggestion that he is challenging in this case the conviction
 for which he is presently incarcerated. Cf. Martin v. Deuth, 298 F.3d 669, 671-72 (7th Cir.
 2002)(a petitioner challenging a current sentence "as enhanced by [an] allegedly invalid
 prior conviction" satisfies the "in custody" requirement of § 2254 even though the sentence
 imposed for the prior conviction has expired)(citing Maleng, at 493).

         The respondent’s argument that the action must be dismissed based on Guillen’s
 failure to satisfy the “in custody” requirement of the federal habeas statute is therefore
 granted, and this action must be dismissed for lack of jurisdiction. For clarity, the
 motions filed by Guillen on February 14, 2006, are treated as his reply to the respondent’s
 return to order to show cause and his response to the directions issued in paragraph 2 of
 the Entry issued on January 24, 2006.

         Judgment consistent with this Entry shall now issue.

         IT IS SO ORDERED.


                                              _______________________________
                                               RICHARD L. YOUNG, JUDGE
                                               United States District Court
 Date:      02/23/2006                         Southern District of Indiana
